Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 1 of 14 PageID# 1375



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

    Intersections, Inc. and Net Enforcers, Inc.,   )
                                                   )
                   Plaintiffs,                     )
                                                   )
           v.                                      ) Civil Action No. 1:09CV597 (LMB/TCB)
                                                   )
    Joseph C. Loomis and Jenni M. Loomis,          )
                                                   )
                   Defendants.                     )

           DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’ TRIAL EXHIBITS

           Defendants Joseph C. Loomis and Jenni M. Loomis (collectively, “Defendants”)

    hereby object to Plaintiffs Intersections, Inc. and Net Enforcers, Inc.’s (collectively, the

    “Plaintiffs”) proposed trial exhibits as follows:

                                    GENERAL OBJECTIONS

           In general, in objecting to Plaintiffs’ proposed trial exhibits, Defendants have

    attempted to anticipate the likely proffered uses for Plaintiffs’ proposed exhibits, but may

    not have anticipated all conceivable purposes for which Plaintiffs may seek to introduce

    their proposed exhibits. Defendants further note that a number of Plaintiffs’ proposed

    exhibits have also been designated as exhibits by Plaintiffs (“common exhibits”).

    Because, under the Federal Rules of Evidence, (1) documents that are admissible on

    behalf of one party may not necessarily be admitted on behalf of another, and (2)

    documents admissible for certain purposes may not be admissible for other purposes,

    Defendants reserve the right to object to Plaintiffs’ use of any of the proposed exhibits

    (including common exhibits) to the extent that such proposed use by Plaintiffs is

    impermissible in this case under the Federal Rules of Evidence.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 2 of 14 PageID# 1376



           In particular, Defendants reserve the right to object to any of Plaintiffs’ proposed

    exhibits on relevance grounds to the extent the scope of the trial may be affected by

    rulings on motions filed in this case or other developments in the litigation. Moreover,

    Defendants have refrained from interposing hearsay objections as to certain proposed

    exhibits purportedly generated by Plaintiffs. Defendants, however, reserve the right to

    object to any use of “internal hearsay” in such documents, i.e., assertions recorded in a

    document but stated by an individual other than the document’s author and handwritten

    marginalia. Finally, Defendants reserve the right to object to the use of any exhibit for

    which Plaintiffs fail to lay a sufficient foundation at trial. The foregoing specific

    reservations of right are not intended to limit in any way Defendants’ right to object to

    any impermissible use of exhibits at trial by Plaintiffs.

                                    SPECIFIC OBJECTIONS

           Without limiting or waiving the foregoing general objections, Defendants further

    object to each of Plaintiffs’ proposed trial exhibits as follows:

           2.      Common exhibit (see general objections).

           3.      Common exhibit (see general objections).

           4.      Common exhibit (see general objections).

           5.      Common exhibit (see general objections).

           13.     Common exhibit (see general objections).

           14.     Common exhibit (see general objections).

           15.     Foundation; authentication.

           16.     Foundation; authentication.

           17.     Foundation; authentication.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 3 of 14 PageID# 1377



          18.   Foundation; authentication.

          19.   Foundation; authentication.

          20.   Foundation; authentication.

          21.   Foundation; authentication.

          22.   Common exhibit (see general objections).

          23.   Common exhibit (see general objections).

          24.   Common exhibit (see general objections).

          26.   Common exhibit (see general objections).

          27.   Common exhibit (see general objections).

          28.   Common exhibit (see general objections).

          29.   Common exhibit (see general objections).

          30.   Common exhibit (see general objections).

          31.   Common exhibit (see general objections).

          32.   Foundation; authentication.

          33.   Foundation; authentication.

          34.   Common exhibit (see general objections).

          35.   Common exhibit (see general objections).

          36.   Common exhibit (see general objections).

          37.   Common exhibit (see general objections).

          38.   Relevance; foundation; authentication.

          39.   Relevance; foundation; authentication.

          40.   Relevance; foundation; authentication.

          41.   Relevance; foundation; authentication.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 4 of 14 PageID# 1378



          42.   No objection.

          44.   Common exhibit (see general objections).

          45.   Common exhibit (see general objections).

          46.   Common exhibit (see general objections).

          48.   Common exhibit (see general objections).

          50.   Foundation; authentication; hearsay.

          51.   Foundation; authentication; hearsay.

          52.   Foundation; authentication; hearsay;

          53.   Foundation; authentication; hearsay.

          54.   Common exhibit (see general objections).

          55.   Foundation; authentication; hearsay.

          56.   Relevance.

          57.   Foundation; authentication; hearsay.

          59.   Common exhibit (see general objections).

          60.   Hearsay.

          61.   Common exhibit (see general objections).

          62.   Common exhibit (see general objections).

          63.   Common exhibit (see general objections).

          64.   Foundation; authentication.

          65.   Foundation; authentication.

          66.   Common exhibit (see general objections).

          67.   Common exhibit (see general objections).

          68.   Foundation; authentication; best evidence.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 5 of 14 PageID# 1379



          69.   Authentication; foundation; best evidence.

          70.   Authentication; foundation; best evidence.

          71.   Authentication; foundation; best evidence.

          72.   Authentication; foundation; best evidence.

          73.   Authentication; foundation; best evidence.

          74.   Authentication; foundation; best evidence.

          75.   Authentication; foundation; best evidence.

          76.   Authentication; foundation; best evidence.

          77.   Authentication; foundation; best evidence.

          78.   Authentication; foundation; best evidence.

          79.   Hearsay; authentication; foundation; best evidence.

          80.   Foundation; authentication; best evidence.

          81.   Foundation; authentication; best evidence.

          82.   Common exhibit (see general objections).

          83.   Foundation; authentication.

          84.   Foundation; authentication.

          85.   Foundation; authentication.

          86.   Foundation; authentication.

          87.   Foundation; authentication.

          88.   Foundation; authentication.

          89.   Foundation; authentication.

          90.   Foundation; authentication.

          91.   Foundation; authentication.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 6 of 14 PageID# 1380



          92.    Foundation; authentication.

          93.    Foundation; authentication.

          94.    Foundation; authentication.

          95.    Foundation; authentication.

          96.    Foundation; authentication.

          97.    Foundation; authentication.

          98.    Foundation; authentication.

          99.    Foundation; authentication.

          100.   Foundation; authentication.

          101.   Foundation; authentication.

          102.   Foundation; authentication.

          103.   No objection.

          108.   Common exhibit (see general objections).

          112.   Common exhibit (see general objections).

          124.   Foundation; authentication; best evidence.

          125.   Common exhibit (see general objections).

          128.   Foundation; authentication; hearsay.

          130.   Common exhibit (see general objections).

          133.   Common exhibit (see general objections).

          134.   Common exhibit (see general objections).

          136.   Common exhibit (see general objections).

          137.   Common exhibit (see general objections).

          138.   Common exhibit (see general objections).
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 7 of 14 PageID# 1381



          158.   Common exhibit (see general objections).

          159.   Common exhibit (see general objections).

          160.   Common exhibit (see general objections).

          161.   Common exhibit (see general objections).

          162.   Common exhibit (see general objections).

          163.   Common exhibit (see general objections).

          164.   Common exhibit (see general objections).

          165.   Common exhibit (see general objections).

          166.   Common exhibit (see general objections).

          167.   Common exhibit (see general objections).

          175.   Common exhibit (see general objections).

          195.   Common exhibit (see general objections).

          198.   Foundation; authentication; hearsay; best evidence.

          199.   Common exhibit (see general objections).

          202.   Common exhibit (see general objections).

          206.   Common exhibit (see general objections).

          212.   Relevance; foundation; authentication.

          213.   Relevance; foundation; authentication.

          214.   Relevance.

          215.   Relevance.

          216.   Relevance.

          217.   Relevance.

          218.   Hearsay.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 8 of 14 PageID# 1382



          219.   Foundation; authentication; hearsay; best evidence.

          220.   Foundation; authentication; hearsay; best evidence.

          221.   Foundation; authentication; best evidence.

          222.   Foundation; authentication; hearsay.

          223.   Foundation; authentication; hearsay.

          224.   Foundation; authentication; best evidence.

          225.   Foundation; authentication; hearsay.

          226.   Foundation; authentication.

          227.   Foundation; authentication.

          228.   Foundation; authentication; best evidence.

          229.   Foundation; authentication; best evidence.

          230.   Foundation; authentication; best evidence.

          231.   Foundation; authentication.

          232.   Foundation; authentication; best evidence.

          233.   Foundation; authentication; best evidence.

          234.   Not produced in discovery; foundation; authentication; best evidence.

          235.   Not produced in discovery; foundation; authentication; best evidence.

          236.   Not produced in discovery; foundation; authentication; best evidence.

          237.   Not produced in discovery; foundation; authentication; best evidence.

          238.   Not produced in discovery; foundation; authentication; best evidence.

          239.   Not produced in discovery; foundation; authentication; best evidence.

          240.   Not produced in discovery; foundation; authentication; best evidence.

          241.   Not produced in discovery; foundation; authentication; best evidence.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 9 of 14 PageID# 1383



          242.   Not produced in discovery; foundation; authentication; best evidence.

          243.   Not produced in discovery; foundation; authentication; best evidence.

          244.   Not produced in discovery; foundation; authentication; best evidence.

          245.   Not produced in discovery; foundation; authentication; best evidence.

          246.   Not produced in discovery; foundation; authentication; best evidence.

          247.   Foundation; authentication; best evidence.

          248.   Foundation; authentication; best evidence.

          249.   Foundation; authentication; best evidence.

          250.   Foundation; authentication; hearsay.

          251.   Foundation; authentication; hearsay; best evidence.

          252.   Foundation; authentication; best evidence.

          253.   Foundation; authentication; hearsay; best evidence.

          254.   Foundation; authentication; hearsay; best evidence.

          255.   Foundation; authentication; hearsay; best evidence.

          256.   Foundation; authentication; hearsay; best evidence.

          257.   Foundation; authentication; hearsay.

          258.   Foundation; authentication; hearsay.

          259.   Foundation; authentication; hearsay.

          260.   Foundation; authentication; hearsay; best evidence.

          261.   Relevance; foundation; authentication; hearsay; best evidence.

          262.   Foundation; authentication; hearsay; best evidence.

          263.   Foundation; authentication; hearsay; best evidence.

          264.   Foundation; authentication; hearsay; best evidence.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 10 of 14 PageID# 1384



           265.   Foundation; authentication; best evidence.

           266.   Foundation; authentication.

           267.   Foundation; authentication; hearsay; best evidence.

           268.   Foundation; authentication; hearsay; best evidence.

           269.   Foundation; authentication; hearsay; best evidence.

           270.   Relevance; foundation; authentication.

           271.   Foundation; authentication; hearsay.

           272.   Foundation; authentication; hearsay.

           273.   Foundation; authentication; hearsay; best evidence.

           274.   Foundation; authentication; hearsay.

           275.   No objection.

           276.   Foundation; authentication.

           277.   Relevance; foundation; authentication; hearsay.

           278.   Relevance; foundation; authentication; hearsay.

           279.   Relevance; foundation; authentication; hearsay.

           280.   Relevance.

           281.   Relevance.

           282.   Relevance.

           283.   Relevance; hearsay.

           284.   Relevance; foundation; authentication.

           285.   Relevance; foundation; authentication.

           286.   Relevance; foundation; authentication.

           287.   Foundation; authentication; best evidence.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 11 of 14 PageID# 1385



           288.   Foundation; authentication.

           289.   Foundation; authentication.

           290.   Foundation; authentication; hearsay; best evidence.

           291.   Foundation; authentication; best evidence.

           292.   Best evidence.

           293.   Relevance.

           294.   Relevance; hearsay.

           295.   Relevance; foundation; authentication; hearsay.

           296.   Foundation; authentication; hearsay.

           297.   Relevance; best evidence.

           298.   Relevance; best evidence.

           299.   Foundation; authentication; hearsay.

           300.   Best evidence.

           301.   Best evidence.

           302.   Best evidence.

           303.   Foundation; authentication; best evidence.

           304.   Best evidence.

           305.   Best evidence.

           306.   Best evidence.

           307.   Foundation; authentication; hearsay; best evidence.

           308.   Foundation; authentication; best evidence.

           309.   Foundation; authentication; best evidence.

           310.   Foundation; authentication; best evidence.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 12 of 14 PageID# 1386



           311.   Foundation; authentication; best evidence.

           312.   Foundation; authentication; best evidence.

           313.   Foundation; authentication; best evidence.

           314.   Foundation; authentication; best evidence.

           315.   Foundation; authentication; best evidence.

           316.   Foundation; authentication; best evidence.

           317.   Foundation; authentication; best evidence.

           318.   Foundation; authentication; best evidence.

           319.   Foundation; authentication; best evidence.

           320.   Foundation; authentication; best evidence.

           321.   Best evidence.

           322.   Foundation; authentication; hearsay.

           323.   No objection.

           324.   No objection.

           325.   No objection.

           326.   No objection.

           327.   Relevance; foundation; authentication; best evidence.

           328.   Relevance; foundation; authentication.

           329.   Relevance; foundation; authentication.

           330.   Relevance; foundation; authentication.

           331.   Relevance; foundation; authentication.

           332.   Relevance; foundation; authentication.

           333.   No objection.
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 13 of 14 PageID# 1387



            334.   Foundation; authentication; hearsay.

            335.   Relevance; foundation; authentication; hearsay.

            336.   Relevance.

            337.   Relevance.



     Dated: January 5, 2010                     Respectfully Submitted,

                                                By________/s/_________________

                                                 Thomas M. Dunlap, VSB# 44016
                                                 Ellis Bennett, VSB # 71685
                                                 David Ludwig, VSB #73157
                                                 Dunlap, Grubb & Weaver, PLLC
                                                 199 Liberty Street, S.W.
                                                 Leesburg, Virginia 20175
                                                 tdunlap@dglegal.com
                                                 ebennett@dglegal.com
                                                 dludwig@dglegal.com
                                                 (703) 777-7319 (telephone)
                                                 (703) 777-3656 (facsimile)
Case 1:09-cv-00597-LMB-TCB Document 90 Filed 01/05/10 Page 14 of 14 PageID# 1388



                                  CERTIFICATE OF SERVICE

            I hereby certify that on the 5th day of January, 2010, I caused the foregoing

     Defendants’ Objections to Plaintiffs’ Trial Exhibits to be electronically filed with the

     Clerk of the Court using the CM/ECF system, which will then send a notification of such

     filing (NEF) to the following:



                    Michelle Dickinson, Esq., Michelle.Dickinson@dlapiper.com
                    DLA Piper LLP (US)
                    6225 Smith Avenue
                    Baltimore, MD 21209
                    T: 410.580.3000
                    F: 410.580.3001
                    Counsel for Plaintiffs Intersections, Inc. and Net Enforcers, Inc.




                                                                         _______/s/__________

                                                                          David Ludwig
